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               IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                        8:06CR214
                              )
          v.                  )
                              )
JOSE A. RAMIREZ SOLANO,       )                         ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for continuance (Filing No. 56).         The Court finds said motion

should be granted.       Accordingly,

           IT IS ORDERED that defendant’s motion is granted; trial

of this matter is rescheduled for:

                Monday, November 13, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.         This continuance is to

accommodate defense counsel’s trial schedule in Judge Bataillon’s

Court.   Thus, the ends of justice will be served by continuing

this case and outweigh the interests of the public and the

defendant in a speedy trial.         The additional time between

November 6, 2006, and November 13, 2006, shall be deemed
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excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 20th day of September, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
